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District Court U.S. DISTRICT COURT, 8.D. HOUSTON, TEXAS District Court Docket No, 4:18-cv-4544 the, Stag
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Short Case Title BURKE, JOANNA & JOHN v. OCWEN LOAN SERVICING, LLC a By, ct re
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ONLY ONE COURT REPORTER PER FORM Court Reporter vy Pa
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Date Notice of Appeal Filed in the District Court 15TH APRIL 2019 Court of Appeals No. 1920267 hey Sg
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PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see“
instructions on page 2.)

A. Complete the Following:

CINo hearings [Transcript is unnecessary for appeal purposes {Transcript is already on file in the Clerk’s Office

OR
Check all of the following that apply, include date of the proceeding.
This is to order a transeript of the folowing proceedings: Bail Hearing OVoir Dire
FOpening Statement of Plaintiff KOpening Statement of Defendant
[Closing Argument of Plaintiff [Closing Argument of Defendant:
[]1Opinion of court Jury Instructions ClSentencing
Other not listed above:
Hearing Date(s i Ju i te

     

6TH FEB, 2019 SCHEDULING HEARING MAGISTRATE JUDGE PETER BRAY

Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISMISSAL OF APPEAL.

B. This is to certify satisfactory financial arrangements have been made. Method of Payment:

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L]Other.
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Counsel for PRO SE

Address 46 KINGWOOD GREENS DR., KINGWOOD, TX, 77339

PART I. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)

Date Transcript Order Date Satisfactory Arrangements Estimated Completion Date | Estimated Number of
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Date Signature of Reporter Tel.
Email of Reporter

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